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                 Exhibit E




                                                                  Page 92
                        Case 3:24-cv-01738-EMC                         Document 1-6      Filed 03/20/24           Page 2 of 2

 ATTORNEY OR PARTY WITHOUT ATTORNEY:                       SlATE BAR NO
                                                                          --
                                                                          268116                                      FOR COURT USE ONLY
                                                                                                                                                 POS-015

 NAME.     Gary S. ~rotman
 nnMNAME       Marquee Law Group, A.P .C.
  STREET ADDRESS: 9100 Wilshire Blvd ., Suite 445 East Tower
  CITY Beverly Hills                                   STATE· CA     ZIP CODE: 90212
  TEI.EPHONE NO · 310-275-1844                        FIIX NO  310-275-1801
                                                                                                                     ELECTRONICALLY
  !:· MAIL ADDRESS gary@mart~ueelaw .com

 1ATTORNEY roR (N!>mt!)' Geary Sha                                                                                       FILED
                                                                                                                     Superior Court of California,
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Francisco                                                                County of San Francisco
     STREET ADDRESS:     400 McAllister Street
  MAILING AOORESS:                                                                                                       10/10/2023
 CITY AND ZIP CODE:        San Francisco, CA 94102                                                                   Clerk of the Court
                                                                                                                        BY: YOLANDA TABO
       RRIINCH NAME:     Civic Center Courthouse
                                                                                                                                  Deputy Clerk
          Plaintiff/Petitioner: Geary Sha
 Defendant/Respondent: Aircraft Service International, Inc., et al.
                                                                                                       CASE NUMBER
                  NOTICE AND ACKNOWLEDGMENT OF RECEIPT- CIVIL                                          CGC-23-606989


TO (insert name ef patty being served): .:.,
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                                                                            NOTICE
       The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
       Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
       (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
       on you in any other manner permitted by law.
      If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
      form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
      entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
      summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
      acknowledgment of receipt below.


Date of mailing: 6/14/2023
                         ----------------- ---
                                   Gary S. Brotman
                                   (TYPE OR PRINT NAMF.)



                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.    0       A copy of the summons and of the complaint.
2. [    x:J Other (specify):
              CIVIL CASE COVER SHEET; ADR INFORMATION
              PACKAGE; AND NOTICE AND ACKNOWLEDGEMENT OF RECEIPT · CIVIL


(To be completed by recipient):

Date this form is signed: -'!.
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          Kevin Jackson, Counsel for Defendant Tracy Aguilar
                (lYPE OR PRINT YOUR NAME liND NAME OF ENTITY,IF ANY,                     (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                       ON WHOSE BEHIILr Tl US FORM IS SIGN!< D)                       ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTIIER PERSON OR ENTITY)




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Form Adopted !Of Mandatory Use                                                                                                          Codo of C1vil PtOCedure,
Jud1c1a1 Council or CaiJtornia
                                           NOTICE AND ACKNOWLEDGMENT OF RECEIPT -                         CIVIL                              §§ 41 5.30, 417.10
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